            Case 1:17-cr-10189-RWZ Document 16 Filed 06/16/17 Page 1 of 2



                              UNITED STATES DISTRICT COURT
                                         FOR THE
                               DISTRICT OF MASSACHUSETTS

                                                       CRIMINAL NO. #2016-MJ-2008-MBB-02

                                  _________________________

                                        UNITED STATES

                                                 v.

                                       ESSAM SAKKAL
                                  _________________________



                   DEFENDANT’S MOTION TO DISMISS COMPLAINT



       Essam Sakkal, defendant in the above-captioned criminal case, hereby moves this Court,

pursuant to 18 U.S.C. §§ 3161(a) and 3162(a)(1), to dismiss the pending criminal complaint. As

grounds therefore, defendant avers as follows:

       1.       The defendant, who was arrested on this complaint in Warsaw, Poland on April 20,

                2016, was extradicted to the United States and had his initial appearance before the

                Court on May 12, 2017.

       2.       More than 30 days has elapsed since said initial appearance, and the government has

                not filed either an Information or Indictment charging him with the commission of

                an offense. Pursuant to the Speedy Trial Act, “such charge against that individual

                contained in such complaint shall be dismissed or otherwise dropped.” 18 U.S.C. §

                3162(a)(1).
            Case 1:17-cr-10189-RWZ Document 16 Filed 06/16/17 Page 2 of 2



         Accordingly, the pending criminal complaint should be dismissed and the defendant

discharged from custody forthwith since he is currently being held pursuant to an Order of Voluntary

Detention without Prejudice entered by the Court on May 24, 2017.

                                                                  Respectfully submitted,

                                                                  ESSAM SAKKAL

                                                                  By his attorney,


                                                                         /s/ James L. Sultan
                                                                  James L. Sultan, BBO #488400
                                                                  Rankin & Sultan
                                                                  151 Merrimac Street, 2nd Floor
                                                                  Boston, MA 02114
                                                                  (617) 720-0011

                                            CERTIFICATE OF SERVICE

         I hereby certify that this document(s) filed through the ECF System will be sent electronically to the registered
participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent to those indicated as non-
registered participants on June 16, 2017.


                                                                                        /s/ J ames L. Sultan




                                                             2
